Case 5:20-cv-00860-CJC-KK Document 22 Filed 09/24/20 Page 1 of 2 Page ID #:70



 1   Babak Hashemi, Esq. (State Bar No. 263494)
     THE LAW OFFICES OF BABAK HASHEMI, ESQ.
 2   20062 SW Birch St., Suite 200
     Newport Beach, CA 92660
 3   Tel: (949) 464-8529
     Fax: (949) 259-4548
 4   Email: BabakHashemiLaw@gmail.com
     Attorneys for PATRICIA FILARDI
 5
                              UNITED STATES DISTRICT COURT
 6
                             CENTRAL DISTRICT OF CALIFORNIA
 7
 8
     PATRICIA FILARDI, an individual,             Case No. 5:20-cv-00860-CJC-KK
 9
                Plaintiff,                        STIPULATION FOR DISMISSAL
10                                                WITH PREJUDICE UNDER
                                                  FED. R. CIV. P. 41(a)(1)A(ii)
11 v.
12 DUCKETT-WILSON DEVELOPMENT
   COMPANY; a California corporation;
13 ALTA LOMA CENTER; a business
   entity of unknown form; and DOES 1-10,
14 inclusive,
               Defendants.
15
16         IT IS HEREBY STIPULATED by and between the Parties, through their
17   designated counsel, that:
18         1.       The Parties have reached a settlement that includes a confidentiality
19   provision;
20         2.       The Complaint and action asserted by Plaintiff will be dismissed with
21   prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii); and
22         3.       The Parties will bear their own respective costs and attorneys’ fees.
23
24   Dated: September 22, 2020         LAW OFFICES OF BABAK HASHEMI, ESQ.
25
                                       By: /s/ Babak Hashemi
26
                                         Babak Hashemi, Esq.
27                                       Attorney for Plaintiff
28                                              -1-
                                            STIPULATION FOR DISMISSAL WITH PREJUDICE UNDER
                                                                         FED. R. CIV. P. 41(a)(1)
                                                                         5:20-CV-00860-CJC-KK
Case 5:20-cv-00860-CJC-KK Document 22 Filed 09/24/20 Page 2 of 2 Page ID #:71



 1   Dated: September 22, 2020                 SHORELINE, A Law Corporation
 2
                                                By:         /s/ RICHARD G. STOLL
 3                                                    RICHARD G. STOLL, a Member of
 4                                                    SHORELINE, A Law Corporation,
                                                      Attorneys for Defendant D-W-B
 5                                                    DEVELOPMENT COMPANY and
                                                      DUCKETT-WILSON
 6                                                    DEVELOPMENT COMPANY

 7
 8
 9
10
11
12
13         Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), the filer attests that all other signatories
14   listed above, and on whose behalf this filing is submitted, concur in the filing’s
15   content and have authorized the filing.
16
      DATED: September 24, 2020                  LAW OFFICES OF BABAK
17                                               HASHEMI, ESQ.
18
                                                 By: /s/ Babak Hashemi
19                                                  Babak Hashemi
20
21
22
23
24
25
26
27
28                                              -2-
                                            STIPULATION FOR DISMISSAL WITH PREJUDICE UNDER
                                                                         FED. R. CIV. P. 41(a)(1)
